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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

IN RE MERCEDES-BENZ EMISSIONS                    Civil Action No. 16-881(JLL)(JAD)
LITIGATION

                                                      NOTIFICATION PURSUANT TO
                                                       STIPULATION AND ORDER

         On February 22, 2019, the Court ordered plaintiffs to notify the Court if plaintiffs

intended to file a further amended complaint.

         Plaintiffs hereby notify the Court of an intent to amend the New Jersey Consumer Fraud

Act claim and suggest that plaintiffs be permitted to do so by March 15, 2019. Defendants

response would then be due 45 days thereafter.


DATED: February 28, 2019                    Respectfully submitted,

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                                       Plaintiffs’ Executive Committee


SO ORDERED this ____ day of February, 2019



      JOSEPH A. DICKSON, U.S.M.J.




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